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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION

                                                Chapter 11
 IN RE:
                                                Case No. 18-10274 (SDB)
 FIBRANT, LLC, et al.,
                                                (Jointly Administered)
                            Debtors.


 FIBRANT, LLC, EVERGREEN NYLON
 RECYCLING LLC, FIBRANT SOUTH CENTER,
 LLC, GEORGIA MONOMERS COMPANY, LLC,
 CHEMICAINVEST HOLDING, B.V., and
 AUGUSTA LIQUIDATIONS, LLC,

          Plaintiffs,

 v.

 ACE PROPERTY & CASUALTY INSURANCE
 COMPANY, a corporation, UNITED STATES FIRE
 INSURANCE COMPANY, a corporation,
 CENTURY INDEMNITY COMPANY, a
 corporation, ADMIRAL INSURANCE COMPANY,
 a corporation, MT. MCKINLEY INSURANCE          Adversary Proceeding
 COMPANY, a corporation, COLUMBIA
 CASUALTY COMPANY, a corporation,               No. 19-01016 (SDB)
 CONTINENTAL CASUALTY COMPANY, a
 corporation, THE CONTINENTAL INSURANCE
 COMPANY, a corporation, CERTAIN
 UNDERWRITERS AT LLOYD’S, LONDON, a
 corporation, CERTAIN LONDON MARKET
 COMPANIES, corporations, STARR INDEMNITY
 & LIABILITY COMPANY, a corporation,
 BERKSHIRE HATHAWAY SPECIALTY
 INSURANCE COMPANY, a corporation, FIRST
 STATE INSURANCE COMPANY, a corporation,
 ALBA GENERAL INSURANCE COMPANY
 LIMITED, a corporation, THE DOMINION
 INSURANCE COMPANY LIMITED, a corporation,
 EXCESS INS. CO. TO HFPI LTD., a corporation,
 ASSICURAZIONI GENERALI SPA, a corporation,
 HELVETIA ACCIDENT SWISS INSURANCE


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    COMPANY LIMITED, a corporation, LONDON
    AND EDINBURGH GENERAL INSURANCE
    COMPANY LIMITED, a corporation, RIVER
    THAMES INSURANCE COMPANY LIMITED, a
    corporation, STRONGHOLD INSURANCE
    COMPANY LIMITED, a corporation, HARPER
    INSURANCE LTD., a corporation, ARGONAUT
    NORTHWEST INSURANCE COMPANY, a
    corporation, DELTA-LLOYD NON-LIFE
    INSURANCE COMPANY LIMITED, a corporation,
    NATIONAL CASUALTY COMPANY, a
    corporation, NATIONAL CASUALTY COMPANY
    OF AMERICA LIMITED, a corporation,
    NATIONAL UNION FIRE INSURANCE
    COMPANY OF PITTSBURGH, PA, a corporation,
    LEXINGTON INSURANCE COMPANY, a
    corporation, THE NORTH RIVER INSURANCE
    COMPANY, a corporation, HOME INSURANCE
    COMPANY, a corporation, ALLSTATE
    INSURANCE, a corporation, PROTECTIVE
    NATIONAL INSURANCE COMPANY, a
    corporation, ZURICH INTERNATIONAL, a
    corporation, LIBERTY MUTUAL, a corporation,

          Defendants.




                                    JOINT STATUS REPORT

         This adversary proceeding is a declaratory judgment action in which the Plaintiffs seek a

determination regarding coverage under certain historic insurance policies, issued by the Insurer

Defendants,1 for funding of past and ongoing environmental liabilities. On October 3, 2019, the

parties filed a joint motion to stay this action pending the outcome of mediation between the

parties. On October 17, 2019, the Court ordered the action stayed. As part of the Court’s order,

the parties were required to file an initial joint status report on December 16, 2019, and



1
      As these terms are defined in the Joint Status Report filed March 19, 2020 (Dkt. 37) and the
      Complaint for Declaratory Judgment filed in the adversary proceeding (Dkt. 1).

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subsequent status reports each 90 days thereafter while the matter is stayed, pending further

order of the Court. Plaintiffs and the Defendant Insurers jointly file this status report in

compliance with the Court’s order and report the following.

        As the parties previously advised, Plaintiffs and several of the Insurer Defendants have

successfully resolved this matter through mediation. Since the last status report, Plaintiffs and

certain Insurer Defendants2 have agreed in principle to settle and reached concurrence on the form

of agreement, while the parties continue to work cooperatively to complete the final documentation

memorializing their settlement. As a result, the vast majority of Insurer Defendants have now

agreed to a settlement framework.

        A consistent part of these resolutions involve the Insurer Defendants’ desire to achieve a

comprehensive and definitive resolution, which entails the parties presenting the Court with a

proposal to establish protective mechanisms to bar future claims against the insurers. Plaintiffs

and the settling Insurer Defendants hope to present that proposal to the Court within 30 days (or

less) as part of a joint submission that will resolve the adversary proceeding for those settling

Insurer Defendants.




2
    These new settling Insurer Defendants include the following: Columbia Casualty Company; Continental
    Casualty Company; The Continental Insurance Company as successor to certain interests of Harbor Insurance
    Company; Certain Underwriters at Lloyd’s, London; Certain London Market Companies (The Edinburgh
    Assurance Company; World Auxiliary Insurance Company Limited; Accident & Casualty Insurance Company
    of Winterthur (No. 2A/C); Accident & Casualty Insurance Company of Winterthur (No. 3A/C); New London
    Reinsurance Company Limited; and The Scottish Lion Insurance Company Limited); Starr Indemnity &
    Liability Company, formerly known as Republic Insurance Company; and Berkshire Hathaway Specialty
    Insurance Company, formerly known as Stonewall Insurance Company Alba General Insurance Company
    Limited; The Dominion Insurance Company Limited; Catalina Worthing Insurance Ltd F/K/A Hfpi (As Part Vii
    Transferee Of (Excess Insurance Company Ltd And/Or London & Edinburgh Insurance Company Ltd As
    Successor To London & Edinburgh General Insurance Company Ltd)); Assicurazioni Generali Spa (Uk
    Branch); Helvetia Accident Swiss Insurance Company Limited; London And Edinburgh General Insurance
    Company Limited; River Thames Insurance Company Limited; Harper Insurance Ltd F/K/A Turegum Ins Co;
    Argonaut Northwest Insurance Company; Argonaut Northwest Insurance Company; Delta-Lloyd Non-Life
    Insurance Company Limited; National Casualty Company; National Casualty Company Of America Limited.

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       The mediator, Tim Gallagher of the Gallagher Law Group, continues to facilitate

settlement discussions among Plaintiffs and the two remaining non-settling Insurer

Defendants. Those discussions remain productive and are reaching their conclusion. The parties

will soon be able to determine whether settlements can be agreed upon with the remaining Insurer

Defendants (which remains Plaintiffs’ expectation and goal). In the event settlement cannot be

reached with one or more of the remaining Insurer Defendants, Plaintiffs will inform the Court

and the parties will confer regarding lifting the stay to efficiently resolve the remaining disputes.

       The parties respectfully submit this joint status report to the Court. Absent further direction

by the Court, within thirty days the parties will submit the next report and/or file a motion with the

Court including the proposal and relief requested that will resolve the adversary proceeding for

those settling Insurer Defendants. Plaintiffs are also prepared to provide an interim report if there

is progress with the two remaining non-settling Insurer Defendants.



Date: December 7, 2022                         Respectfully submitted,

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                                               Steven Lesan*
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                                    Company; World Auxiliary Insurance Company
                                    Limited; Accident & Casualty Insurance Company of
                                    Winterthur (No. 2A/C); Accident & Casualty
                                    Insurance Company of Winterthur (No. 3A/C); New
                                    London Reinsurance Company Limited; and The
                                    Scottish Lion Insurance Company Limited); Starr
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                                    Accident Swiss Insurance Company Limited;
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                                  CERTIFICATE OF SERVICE


       I hereby certify that I have on this day electronically file the foregoing JOINT STATUS

REPORT with the Clerk of the Court using the CM/ECF system, which will automatically send

electronic mail notification of such filing to all attorneys of record.


Date: December 7, 2022
                                               /s/ Brook B. Roberts

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